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, ¢ ‘Case 3:06-cv-0089 Document 1 Filed 05/17/06 & 1 NORTHERN DISTRICT OF TEXAS
FILED
IN THE UNITED STATES DISTRICT COURT MAY | 7 2006
AL | ALA if FOR THE NORTHERN DISTRICT OF TEXAS
U iN | Wise’ DALLAS DIVISION
SOUTHWEST AIRLINES CO. §
§ CIVIL ACT
VS. § -
5 .
BOARDFIRST, L.L.C. §

93 0930

COMPLAINT
TO THE HONORABLE UNITED STATES DISTRICT COURT:
COMES NOW, Plaintiff SOUTHWEST AIRLINES CO. (“Southwest”), and brings this
action against Defendant BoardFirst, L.L.C. (“BoardFirst”) for injunctive relief and damages
under the laws of the United States and the State of Texas and states as follows:
I. NATURE OF THE ACTION
1. By this Complaint, Southwest seeks injunctive relief and monetary damages
against BoardFirst based on BoardFirst’s unauthorized use of Southwest’s website in connection
with BoardFirst’s operation of a travel services business in which it, without Southwest’s
permission, sells to Southwest’s customers online check-in and boarding pass retrieval for
Southwest flights. BoardFirst’s activities constitute breach of contract, fraud in connection with
computers, trademark infringement, unfair competition and unjust enrichment. Despite multiple
requests from Southwest that BoardFirst cease these wrongful activities, BoardFirst persists in
this conduct. As a result, Southwest has suffered, is suffering, and unless preliminary and
permanent relief is entered by this court, will continue to suffer ongoing harm due to
BoardFirst’s conduct alleged herein.
Il. PARTIES
2. Southwest is a Texas corporation with its principal place of business in Dallas,

Texas.

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3. Upon information and belief, BoardFirst is an Arizona limited liability company
with its principal place of business on the Internet and its headquarters at 5414 N. 25" Street,
Phoenix, Arizona 85026.

Il. JURISDICTION

4, This Court has subject matter jurisdiction over the federal claims in this action
pursuant to 28 U.S.C. §1331 because certain of Southwest’s claims arise under 18 U.S.C. § 1030,
15 U.S.C. § 1114 and 15 U.S.C. § 1125(a).

5. This Court has supplemental jurisdiction over the claims in this Complaint that
arise under the law of the State of Texas pursuant to 28 U.S.C. § 1367(a), because the state law
claims are so related to the federal claims that they form a part of the same case or controversy
and derive from a common nucleus of operative facts.

6. In addition, this Court has diversity jurisdiction over this action pursuant to 28
U.S.C. § 1332. This controversy is between citizens of different states, and the amount in
controversy exceeds and/or the value of the right sought to be protected by the injunction
exceeds $75,000.

7. This Court has personal jurisdiction over BoardFirst because BoardFirst
purposefully directed their unlawful acts to this forum, knew that the injury from their unlawful
acts would be felt primarily by Southwest in this judicial district, and systematically conducted
business in this judicial district.

8. Upon information and belief, BoardFirst has purposefully availed itself to the
forum by entering into one or more contracts with residents of the State of Texas knowing that it
would receive commercial gain through such contracts.

9, Upon information and belief, a substantial portion of BoardFirst’s business is the

operation of an internet website located at www.boardfirst.com (“BoardFirst.com’), through

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which it intentionally directs commercial activity to residents of Texas, including residents of
this judicial district.

10. | Upon information and belief, Texas consumers in this district interact with
BoardFirst by requesting that BoardFirst obtain boarding passes for airline flights originating
from and arriving at airports in Dallas and other major airports in Texas served by Southwest.

11. | Upon information and belief, BoardFirst.com collects personal and payment
information from Texas residents purchasing BoardFirst’s services.

12. | Upon information and belief, BoardFirst directs its business activities to residents
of Texas knowing that it will receive commercial gain from selling its services to Texas
residents.

13. | Upon information and belief, BoardFirst knew that the injury from their unlawful
acts would be felt primarily by Southwest in this judicial district where Southwest is
incorporated and headquartered, and where it originates numerous flights every day for Texas
residents.

14. Moreover, in order to perpetrate the wrongful acts alleged in this complaint,
BoardFirst regularly accesses Southwest’s computer servers which are located in this District.

15. | Upon information and belief, BoardFirst intends and will continue to access
Southwest’s servers in this District, will market, advertise and sell airline boarding pass services
to Texas residents in this District, and will continue to cause injury to Southwest in this District.

IV. VENUE

16. | Venue lies properly in this Court pursuant to 28 U.S.C. § 1391(b) because the
claims alleged in this action arose in this judicial district; a substantial part of the activities,
conduct and/or damages occurred in Texas; and BoardFirst has substantial contacts with this

judicial district.

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V. FACTS GIVING RISE TO THIS ACTION
Southwest’s Airline Operations and Valuable Trademarks

17. | Southwest is a major short-haul, low-fare, high-frequency, point-to-point carrier
in the United States. Southwest is headquartered in Dallas, Texas, and conducts substantial
business operations at the Dallas Love Field Airport.

18. Southwest has been offering air transportation services under the mark and name
“SOUTHWEST AIRLINES” for over thirty years.

19. Southwest has continuously used the SOUTHWEST AIRLINES mark and a
family of related marks in connection with various aspects of its air transportation business.

20. ‘In recognition of the value of these marks, Southwest has sought and obtained
numerous federal registrations for these marks, including but not limited to United States Service
Mark Registration 1,738,670 for the mark SOUTHWEST AIRLINES for transportation
services; namely, transportation of cargo and passengers by air. This registration issued on
September 15, 1992 and is now uncontestable under 15 U.S.C. § 1065. A true and correct copy
of the certificate of registration for the foregoing mark is attached hereto as Exhibit A.

21. Because of the long, continuous, and exclusive use of the SOUTHWEST
AIRLINES mark, the mark has acquired secondary meaning and is associated in the minds of
customers and the public with Southwest.

22. In fact, in the more than thirty years that Southwest has been offering air
transportation services under the SOUTHWEST AIRLINES mark, Southwest has developed a
substantial amount of goodwill in the mark.

Southwest’s Check-in and Boarding Procedures
23. In order to promote passenger security and maintain a fair and expeditious seating

process, Southwest maintains certain policies regarding check-in and boarding for its flights.

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24. In terms of boarding, Southwest maintains an “open seating” policy.

25. Under the open seating policy, each customer who has purchased a seat on a flight
operated by Southwest is issued a boarding pass grouped by “A,” “B” or “C” (in that order)
based on when the customer checked in for the flight on Southwest’s website, or at a Skycap
podium, ticket counter, departure gate, or kiosk.

26. Following the boarding of customers who are allowed to pre-board a flight for
special circumstances, “general boarding” begins and customers holding boarding passes marked
group “A” will board the plane first and sit in any open or unclaimed seat.

27. Customers with boarding passes marked group “B” board the plane following
those with “A” passes and sit in any open seat.

28. Those customers with boarding passes marked group “C” board the plane last,
following those with “B” passes and sit in any open seat.

29. Beginning 24 hours prior to scheduled departure and up to one hour before
departure, customers with eligible reservations may check-in online for their flight and print a
boarding pass at Southwest’s website, SOUTHWEST.COM.

30. The earlier a customer checks in during the 24 hours prior to departure, the more
likely it is that that customer will receive a group “A” boarding pass.

31. In order to check-in online at SOUTHWEST.COM, the Southwest Customer must
enter his confirmation number and name in the designated area on the SOUTHWEST.COM
website.

32. |The SOUTHWEST.COM system then retrieves the appropriate reservation using
the customer’s personal identification information.

33. The customer must print the boarding pass which appears on his Internet browser

and bring the document to the airport where it is presented with a valid government-issued

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identification in order to allow the customer to pass through airport security and board his
Southwest flight.

34. Certain terms and conditions (the “Terms and Conditions of Use”) apply to use of
the SOUTHWEST.COM website.

35. Thus, those accessing the website in order to check-in and obtain a boarding pass
or to access other features of the website must adhere to the Terms and Conditions of Use in
order to be entitled to use SOUTHWEST.COM.

36. The home page of the SOUTHWEST.COM website as well as the Terms and
Conditions of Use conspicuously state that use of the website constitutes acceptance of
Southwest’s Terms and Conditions of Use. Southwest’s Terms and Conditions of Use are
available by clicking a clearly marked link which appears in multiple places on the
SOUTHWEST.COM home page as well as on the internal pages of the website.

37. In consideration of using the SOUTHWEST.COM website, the Terms and
Conditions provide that users will not use the website for commercial purposes. A true and
correct copy of the Terms and Conditions of Use for the SOUTHWEST.COM website is
attached hereto as Exhibit B.

38. | The Terms and Conditions of Use also state that “third parties may not use the
Southwest web sites for the purpose of checking Customers in online or attempting to obtain for
them a boarding pass in any certain boarding group.”

BoardFirst’s Wrongful Conduct

39. BoardFirst operates a travel services business in which it, without Southwest’s

authorization and in direct violation of Southwest’s Terms and Conditions of Use, charges

Southwest Customers a fee in exchange for obtaining group “A” boarding passes using

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SOUTHWEST.COM, which Southwest Customers could otherwise obtain directly from
Southwest free of charge.

40. Specifically, BoardFirst, through the BoardFirst website, collects the personal
information of Southwest Customers, including their flight confirmation number, passenger
name and credit card information.

41. Using the flight confirmation number and passenger name, BoardFirst
fraudulently poses as a Southwest Customer and knowingly and wrongfully accesses protected
sections of Southwest’s computer system early in the 24 hour period during which a Southwest
Customer can check-in prior to departure of his flight.

42. Upon information and belief, BoardFirst obscures the IP address of the computer
it uses to access Southwest’s computer system or knowingly uses a non-static IP address so that
Southwest will not know that it is BoardFirst, as opposed to an actual Southwest Customer,
accessing the SOUTHWEST.COM website.

43. Thus, under the false guise that BoardFirst is a Southwest Customer checking in
for a flight, BoardFirst accesses SOUTHWEST.COM and obtains a group “A” boarding pass for
a Southwest flight.

44. Upon information and belief, BoardFirst charges the Customer’s credit card for
having obtained the “A” boarding pass.

45. In order to promote its services and to earn customer trust, BoardFirst has sought
to trade off the goodwill associated with the well-known SOUTHWEST AIRLINES mark.

46. | For example, the BOARDFIRST.COM website makes unauthorized prominent
references to SOUTHWEST AIRLINES® and confuses consumers as to its affiliation with
Southwest by advertising that “BoardFirst.com was named The Best Feature of Flying Southwest

Airlines®...”

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47. Upon information and belief, consumers have been confused as to Southwest’s
affiliation and/or endorsement of BoardFirst’s activities, and Southwest customers have lodged
complaints with Southwest about such activities, including the unfair nature of such activities.

48. As such, Southwest has suffered and will continue to suffer irreparable harm and
economic injury as a result of BoardFirst’s wrongful activities.

Defendant’s Refusal to Cease Its Wrongful Activities

49. Upon learning that BoardFirst was engaged in the above-alleged activities,
Southwest promptly wrote to BoardFirst in December 2005, and demanded that BoardFirst cease
and desist from utilizing SOUTHWEST.COM for the unauthorized commercial purpose of
charging Southwest’s customers to obtain boarding passes. The letter also demanded that
BoardFirst cease and desist from any form or advertisement or marketing inferring that
BoardFirst is affiliated with Southwest.

50. | The complained of activities did not cease, and Southwest sent a letter on or about
February 15, 2006 again demanding that BoardFirst cease these activities. In both letters,
Southwest included a copy of the Terms and Conditions of Use.

51. | When BoardFirst ignored these letters, Southwest’s attorney dispatched another
letter to BoardFirst on or about March 7, 2006.

52. Despite Southwest’s repeated requests to BoardFirst to cease the above-alleged
activities, BoardFirst continues to this day to profit off of the use SOUTHWEST.COM in
violation of Southwest’s Terms and Conditions of Use, continues to charge Southwest
Customers to obtain group “A” boarding passes, continues to use promotional materials which
mislead consumers at to the affiliation between BoardFirst and Southwest, and continues to

cause injury to Southwest.

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COUNTI

18 U.S.C. § 1030: Fraud And Related Activity In Connection With Computers

53. Southwest repeats and incorporates by this reference each and every allegation set
forth in paragraphs 1 through 52, inclusive.

54. | The computer system on which the Southwest check-in system resides is a
computer used in interstate commerce or communication, and is, thus a protected computer
under 18 U.S.C. § 1030.

55. | Upon information and belief, BoardFirst has intentionally accessed and continues
to access Southwest’s computer system without Southwest’s authorization and through use of
others’ confirmation numbers and personal information that disguise BoardFirst’s identity.

56. | Upon information and belief, BoardFirst has accessed Southwest’s protected
computer on a number of occasions with an intent to defraud Southwest and obtain boarding
passes for Southwest flights.

57. BoardFirst’s unauthorized access of a protected computer has caused damage and
is continuing to cause damage to Southwest which has amounted in an aggregated loss of at least
$5,000 during a one year period.

58.  BoardFirst’s conduct has harmed and will continue to harm Southwest. As a
result, Southwest has suffered and will continue to suffer losses and irreparable injury, in
amounts not yet ascertained.

59. | Southwest’s remedy at law is not itself adequate to compensate it for injuries

inflicted by BoardFirst. Accordingly, Southwest is entitled to damages and injunctive relief

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COUNT II
Breach of Contract
60. Southwest repeats and incorporates by this reference each and every allegation set
forth in paragraphs 1 through 59, inclusive.
61. _ BoardFirst entered into a valid contract with Southwest by using Southwest’s
website SOUTHWEST.COM in acceptance of its Terms and Conditions of Use.
62. | The Terms and Conditions of Use state in part that:
“lujnless you are an approved Southwest travel agent, you may use
the Southwest web sites and any Company Information only for personal,
non-commercial purposes. For example, third parties may not use the

Southwest web sites for the purpose of checking Customers in online or
attempting to obtain for them a boarding pass in any certain boarding

group.”

63. The Terms and Conditions of Use also provide, “As a condition of your use of the
Southwest web sites, you promise that you will not use the Southwest web sites or Company
Information for any purpose that is unlawful or prohibited by these terms and conditions.”

64. Southwest has performed all of the conditions, covenants, and promises required
on its part to be performed in accordance with the terms and conditions of the contract.

65. BoardFirst has repeatedly breached the contract by fraudulently using
Southwest’s website for the commercial purpose of charging Southwest Customers for online
check-in and boarding pass retrieval for Southwest flights.

66. As a direct result of BoardFirst’s breaches, Southwest has sustained general and
special damages in a sum to be proved at trial.

67. Southwest has suffered and will continue to suffer losses and irreparable injury
due to BoardFirst’s breaches. BoardFirst is likely to continue to commit such breaches and,
unless restrained and enjoined, will continue to do so, all to Southwest’s irreparable injury.
Southwest’s remedy at law is not by itself adequate to compensate it for the injuries inflicted and

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threatened by BoardFirst. Accordingly, Southwest is entitled to injunctive relief to prevent

BoardFirst from engaging in conduct prohibited by the Terms and Conditions of Use, as well as

 

damages.
COUNT II
Unfair Competition in Violation of 15 U.S.C. § 1125(a)
68. Southwest realleges and incorporates by this reference each and every allegation

set forth in paragraphs 1 through 67, inclusive.

69. BoardFirst’s intentional and unauthorized use in commerce of the SOUTHWEST
AIRLINES name and mark is likely to cause confusion, mistake or deception among the
consuming public as to the source or origin of BoardFirst’s services and/or as to Southwest’s
affiliation with, endorsement of, or sponsorship of BoardFirst’s services.

70. BoardFirst’s continued, unauthorized use of the well-known SOUTHWEST
AIRLINES name and mark has been done with intent to trade upon the goodwill and reputation
of Southwest. Accordingly, BoardFirst’s actions constitute willful infringement and unfair
competition in violation of Section 43(a) of the Trademark Act of 1946, 15 U.S.C. 1125(a).

71.  Asaresult of the foregoing, Southwest has been damaged in an amount that will
be ascertained according to proof. In addition to Southwest’s actual damages, Southwest is
entitled to receive BoardFirst’s profits pursuant to 15 U.S.C. § 1117(a). These actual damages
and profits should be enhanced because BoardFirst’s conduct described above is willful.

72. In addition, Southwest has suffered and will continue to suffer losses and
irreparable injury to its business reputation and goodwill. BoardFirst is likely to continue to
engage in activities in violation of 15 U.S.C. § 1125(a) and unless restrained and enjoined will

continue to do so, all to Southwest’s irreparable injury. Southwest’s remedy at law is not by

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itself adequate to compensate it for the injuries inflicted and threatened by BoardFirst.

Accordingly, Southwest is entitled to injunctive relief pursuant to 15 U.S.C. § 1116(a).

73. Southwest is also entitled to recover its attorneys’ fees and costs pursuant to 15
U.S.C. § 1117.
COUNT IV

Trademark Infringement in Violation of 15 U.S.C. § 1114

74. Southwest realleges and incorporates by this reference each and every allegation
set forth in paragraphs 1 through 73, inclusive.

75.  BoardFirst’s aforesaid acts, practices and conduct constitute an infringing and
unauthorized use in interstate commerce of a reproduction, counterfeit, copy or colorable
imitation of the registered SOUTHWEST AIRLINES mark.

76. BoardFirst’s marketing and sale of travel-related services in connection the
SOUTHWEST AIRLINES mark is likely to cause confusion, mistake or to deceive the public as
to the affiliation, connection or association between BoardFirst and Southwest.

77. As aresult of the foregoing, Southwest has been damaged in an amount that has
not yet been determined. Southwest is entitled to those remedies authorized under 15 U.S.C. §
1117, and damages awarded to Southwest under this section should be enhanced because
BoardFirst’s conduct described above is willful.

78. In addition, Southwest has suffered and will continue to suffer losses and
irreparable injury to its business reputation and goodwill. BoardFirst is likely to continue to
engage in the activities complained of herein and unless restrained and enjoined will continue to
do so, all to Southwest’s irreparable injury. Southwest’s remedy at law is not by itself adequate
to compensate it for the injuries inflicted and threatened by BoardFirst. Accordingly, Southwest

is entitled to injunctive relief pursuant to 15 U.S.C. § 1116(a).

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79. Southwest is also entitled to recover its attorneys’ fees and costs pursuant to 15
U.S.C. § 1117.

COUNT V
Unjust Enrichment

80. Southwest repeats and incorporates by this reference each and every allegation set
forth in paragraphs 1 through 79, inclusive.

81. BoardFirst knowingly benefited and continue to unjustly benefit from its
unauthorized use of SOUTHWEST.COM and its unauthorized and misleading use of the
SOUTHWEST AIRLINES mark. BoardFirst has accepted the benefit and never compensated
Southwest for its unauthorized use of SOUTHWEST.COM and of the SOUTHWEST
AIRLINES mark.

82.  BoardFirst has been unjustly enriched to the detriment of Southwest.

COUNT VI
Harmful Access By Computer

83. Southwest repeats and incorporates by this reference each and every allegation set
forth in paragraphs 1 through 82, inclusive.

84. _ BoardFirst violated § 33.02 of the Texas Penal Code by knowingly, and without
effective consent, accessing Southwest’s computer network or system. Southwest has been
harmed by such illegal conduct.

85. Pursuant to § 143.001 of the Texas Civil Practice And Remedies Code,
BoardFirst’s knowing and intentional violation of § 33.02 of the Texas Penal Code makes
BoardFirst liable in a civil action for harmful computer access of Southwest’s computer network

or system.

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ATTORNEYS’ FEES
86. Southwest repeats and incorporates by this reference each and every allegation set
forth in paragraphs 1 through 85, inclusive.
87. Southwest has been required to retain the services of the undersigned attorneys in
the prosecution of this claim. Pursuant to § 38.001 of the TEXAS CIVIL PRACTICE AND
REMEDIES CODE, Southwest seeks to recover its attorneys’ fees and costs expended in

prosecuting this matter since such an award would be equitable and just under the circumstances.

PRAYER FOR RELIEF
WHEREFORE, Southwest respectfully requests judgment as follows:
(1) That the Court enter a judgment against BoardFirst that it has:

(a) committed and is committing acts of fraud in connection with computers
in violation of 18 U.S.C. § 1030;

(b) breached its contract with Southwest regarding use of
SOUTHWEST.COM;

(c) willfully used and is using Southwest’s trademark in a manner which is
likely to cause confusion, mistake or to deceive as to BoardFirst’s affiliation, connection or
association with Southwest, or as to Southwest’s sponsorship or approval of BoardFirst’s
commercial activities, in violation of 15 U.S.C. § 1125(a);

(d) made and is making infringing use of Southwest’s registered
SOUTHWEST AIRLINES mark in violation of 15 U.S.C. § 1114;

(e) been and is being unjustly enriched to the detriment of Southwest;

(H caused and is causing harmful access to Southwest’s computer system in
violation of § 33.02 of the Texas Penal Code;

(g) is and has been committing trespass to Southwest’s computer system; and

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(h) otherwise injured the business reputation and business of Southwest by the
acts and conduct set forth in this Complaint.

(2) That the Court issue preliminary and permanent injunctive relief against
BoardFirst, and that BoardFirst and any and all others in active concert or participating with
BoardFirst be enjoined and restrained from:

(a) accessing SOUTHWEST.COM or any Southwest website for the
commercial purpose of checking in Southwest Customers and obtaining boarding passes for
Southwest Customers in exchange for a fee;

(b) accessing Southwest’s computer system in violation of 18 U.S.C. § 1030;

(c) breaching any of the Terms and Conditions of use of SOUTHWEST.COM
or any other website operated by Southwest;

(d) engaging in any activity constituting a violation of 15 U.S.C. § 1125(a) or
15 U.S.C. §1114, such as using in commerce in connection with its services and/or commercial
activities, registered trademarks of Southwest in a manner which is likely to cause consumer
confusion;

(e) using any designation of origin or description that can or is likely to lead
anyone to believe that any product or services have been produced, distributed, offered for
distribution, sold, offered for sale, advertised, displayed, licensed, sponsored, approved or
authorized by or for Southwest, when such is not true;

(f) engaging in activities that unjustly enrich BoardFirst to the detriment of
Southwest;

(g) accessing, without effective consent, Southwest’s computer network or
system in violation of § 33.02 of the Texas Penal Code;

(h) committing trespass to Southwest’s computer system; and

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(i) assisting, aiding, or abetting any other person or business entity in
engaging in or performing any of the activities referred to in subparagraphs (a) through (g)
above.
(3) That the Court order BoardFirst to pay Southwest’s general, special, actual,
compensatory, incidental, consequential, punitive, statutory and exemplary damages as follows:
(a) Southwest’s damages as a result of BoardFirst’s unauthorized access to
Southwest’s computer system in violation of 18 U.S.C. § 1030;
(b) Southwest’s damages as a result of BoardFirst breaching its contract with
SOUTHWEST.COM;
(c) Southwest’s damages and BoardFirst’s profits pursuant to 15 U.S.C.
§ 1117(a), trebled pursuant to 15U.S.C. §1117(b), for BoardFirst’s willful violation of
Southwest’s registered trademarks;
(d) Southwest’s damages and BoardFirst’s profits pursuant to 15 U.S.C.

§ 1117(a), trebled pursuant to 15 U.S.C. §1117(b) for BoardFirst’s willful acts of unfair

competition;

(e) Southwest’s damages for BoardFirst’s violation of § 31.04 of the Texas
Penal Code;

(f) Southwest’s Damages for BoardFirst’s trespass to Southwest’s computer
system; and

(g) Southwest’s damages and BoardFirst’s profits pursuant to Texas common
law;

(4) That the Court order BoardFirst to pay to Southwest both the costs of this action

and the reasonable attorneys’ fees incurred by it in prosecuting this action; and

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(5) That the Court grant to Southwest such other and additional relief as is just and
proper.

Dated: May 7q , 2006.
Respectfully Submittog

RAM@NA MARTINEZ
Attorney-in-Charge
Texas Bar No. 13144010

JONATHAN C, LaMENDOLA
Texas Bar No. 00792637

By:

 

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Cynthia S. Buhr

State Bar No. 03458200

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(214) 792-6144

(214) 792-6200 (Fax)

ATTORNEYS FOR PLAINTIFF

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of initiating the civil docket sheet. (SEE INSTRU

 

 

 

 

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ent the filing and service of pleadings or other papers as required by law, except as
States in September 1974, is required for the use of the Clerk of Court for the purpose

 

 

MAY TT 2006

| CLERK, US. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

Southwest Airlines Co.

 

1. (a) PLAINTIFFS | I

 

DEFENDANTS
BoardFirst, L.L.C.

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE

(b) County of Residence ofFirgt Listed Plaintiff” “Dallas
0 rR ¢ | Nes fs U.S. PLAINTIFF CASES)
f-

LAND INVOLVED.

 

(c) Attorney’s (Firm Name, Address, and Telephone Number)

Ramona Martinez and Jonathan C. LaMendola, Cowles & Thompson,

901 Main Street, Suite 4000, Dallas, Texas 75202, (214) 672-2000

Attorneys (If Known)

 

 

 

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II. BASIS OF JURISDICTION | (lace an “x” in One Box Only) i. CITIZENSHIP OF PRINCIPAL PARTIES ace an “x” in One Box for Plainnff
(For Diversity Cases Only) and One Box for Defendant)
O11 US. Government 693 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1 (1 _ Incorporated or Prncipal Place o4 4
of Business In This State
12 US. Government O14 Diversity Cituzen of Another State 12 © 2 Incorporated and Principal Place os 05
Defendant (Indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a O03 OC 3 > Foreign Nation Oe 6
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT ~ 2 °< TORTS 2 22> - JEORFEITURE/PENALTY % . ‘SBANKRUPICY “OTHER STATUTES: .-
(7 110 Insurance PERSONAL INJURY PERSONAL INJURY [CJ 610 Agriculture (D) 422 Appeal 28 USC 158 (FI 400 State Reapportionment
(7 120 Marine (7 310 Airplane ) 362 Personal Injury - (3 620 Other Food & Drug (1) 423 Withdrawal (410 Anutrust
(7 130 Miller Act (J 315 Airplane Product Med. Malpractice (J) 625 Drug Related Seizure 28 USC 157 (J 430 Banks and Banking
(0 140 Negotiable Instrument Liability #365 Personal Injury - of Property 21 USC 881 (J 450 Commerce
(1) 150 Recovery of Overpayment [J 320 Assault, Libel & Product Liability (J) 630 Liquor Laws PROPERTY RIGHTS (J 460 Deportation
& Enforcement of Judgment Slander (1) 368 Asbestos Personal [CJ 640 RR. & Truck i_} 820 Copyrights [J 470 Racketeer Influenced and
(0 151 Medicare Act (9 330 Federal Employers’ Injury Product (CC) 650 Airline Regs. J 830 Patent Corrupt Organizations
CO) 152 Recovery of Defaulted Liability Liability (J 660 Occupational 54 840 Trademark (J 480 Consumer Credit
Student Loans (1 340 Manne PERSONAL PROPERTY Safety/Health I 490 Cable/Sat TV
(Excl. Veterans) (1 345 Marine Product (3 370 Other Fraud (1) 690 Other (810 Selective Service
(J 153 Recovery of Overpayment Liability C} 371 Truth in Lending LABOR ~ {SOCIAL SECURITY .|CJ 850 Securities/Commodities/
of Veteran’s Benefits (J 350 Motor Vehicle (J 380 Other Personal CJ 710 Fawr Labor Standards (4 861 HIA (1395¢) Exchange
(7 160 Stockholders’ Suits (J 355 Motor Vehicle Property Damage Act (9 862 Black Lung (923) (} 875 Customer Challenge
(J 190 Other Contract Product Liability (1 385 Property Damage ( 720 Labor/Mgmt. Relations |(J 863 DIWC/DIWW (405(g)) 12 USC 3410
(7 195 Contract Product Liability [J] 360 Other Personal Product Liability (J 730 Labor/Mgmt.Reporting |([J 864 SSID Title XVI (1 890 Other Statutory Actions
7] 196 Franchise Injury & Disclosure Act (71 865 RSI (405(g)) (J 891 Agricultural Acts
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |) 740 Railway Labor Act FEDERAL TAX SUITS (C892 Economic Stabilization Act
(J 210 Land Condemnation L} 441 Votng (_) 510 Motions to Vacate ][-} 790 Other Labor Litigation 70 Taxes (U.S. Plainti (1 893 Environmental Matters
(J 220 Foreclosure J 442 Employment Sentence (1 791 Empl. Ret. Inc. or Defendant) (I 894 Energy Allocation Act
(J 230 Rent Lease & Ejectment |[] 443 Housing/ Habeas Corpus: Security Act 1} 871 IRS—Third Party (J 895 Freedom of Information
(9 240 Torts to Land Accommodations ([] 530 General 26 USC 7609 Act
(3 245 Tort Product Liability (] 444 Welfare i] 535 Death Penalty (1) 900 Appeal of Fee Determination
(J 290 All Other Real Property (1 445 Amer. w/Disabilities - 7) 540 Mandamus & Other Under Equal Access
Employment [J 550 Civil Rights to Justice
(CI 446 Amer w/Disabilities - {1 555 Prison Condition J 950 Constitutionality of
Other State Statutes
(J 440 Other Civil Rights
Appeal to District
V. ORIGIN (Place an “X” in One Box Onl Transferred from J ud ge from
S31 = Onginal 1 2 Removed from 3 Remanded from J 4 Reinstated or © 5 anotherdistict 6 Multidistrict O 7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Vi. CAUSE OF ACTION Brief description of cause: Fraud in connection with a computer, unfair competition and trademark infringement seeking
injunctive relief and monetary damages.

VII. REQUESTED IN ( CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER F R.C.P. 23 JURY DEMAND: ([JYes  [JNo
VIII. RELATED CASE(S) oe
IF ANY (See instructions): GE DOCKET NUMBER
<=...
DATE C “ 'G SS OF RECORD
May 17, 2006 — L ,
FOR OFFICE USE ONLY t —
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
